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Fill in this information to identify the case:

Debtor 1              Felipe Osorto

Debtor 2              Lourdes Valladares
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                 District of Florida
                                                                             (State)

Case number           24-13918-RAM



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             Citibank, N.A., not in its individual capacity      Court claim no. (if known):         22
                              but solely as Owner Trustee of New
                              Residential Mortgage Loan Trust 2019-RPL3

Last four digits of any number you               XXXXXX0433                       Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of              4/1/2025
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any             $1,510.49

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 711.62                                      New escrow payment :          $ 806.20

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        %                             New interest rate:           %

             Current principal and interest payment:       $ _________                    New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




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 Debtor 1            Felipe Osorto                                                             Case number (if known) 24-13918-RAM
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Toni Townsend                                                                             Date     02/24/2025
     Signature

Print:         Toni                                                     Townsend                  Title    Authorized Agent for Creditor
               First Name            Middle Name                        Last Name

Company        McCalla Raymer Leibert Pierce, LLP

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                          30076
               City                          State                       ZIP Code

Contact phone      (312) 346-9088 X5174                                                            Email   Toni.Townsend@mccalla.com
***If the Debtor and lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Payment Change is for notice
purposes only and will be abated pending the outcome of the mediation. If the Debtor does not modify the mortgage, the notices will be effective
pursuant to the Notice of Payment Change.




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                                                         Bankruptcy Case No.: 24-13918-RAM
 In Re:                                                  Chapter:             13
          Felipe Osorto                                  Judge:               Robert A. Mark
          Lourdes Valladares

                                     CERTIFICATE OF SERVICE

      I, Toni Townsend, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the
addresses shown, by regular United States Mail, with proper postage affixed, unless another manner
of service is expressly indicated:

Felipe Osorto
6201 SW 138th Court Unit M
Miami, FL 33183-2092

Lourdes Valladares
6201 SW 138th Court Unit M
Miami, FL 33183-2092

Jose A Blanco                                    (Served via ECF at eservice@blancopa.com)
Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013

Nancy K. Neidich, Trustee                        (Served via ECF Notification)
POB 279806
Miramar, FL 33027

Office of the US Trustee                         (Served via ECF Notification)
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:       02/24/2025        By:     /s/Toni Townsend
                     (date)                  Toni Townsend
                                             Authorized Agent for Creditor
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